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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                  )
In re:                                                            )    Chapter 11
                                                                  )
YELLOW CORPORATION, et al.,1                                      )    Case No. 23-11069 (CTG)
                                                                  )
                                Debtors.                          )    (Jointly Administered)
                                                                  )
                                                                  )    Re: Docket Nos. 575, 1284
                                                                  )
                                                                  )    Rescheduled     Sale    Objection
                                                                  )    Deadline: January 5, 2024 at 5:00
                                                                  )    p.m. (ET)
                                                                  )
                                                                  )    Rescheduled Adequate Assurance
                                                                  )    Objection Deadline: January 5,
                                                                  )    2024 at 5:00 p.m. (ET)
                                                                  )
                                                                  )    Rescheduled      Sale      Hearing:
                                                                  )    January 12, 2024 at 2:00 p.m. (ET)
                                                                  )

             NOTICE OF RESCHEDULED SALE OBJECTION DEADLINE,
         ADEQUATE ASSURANCE OBJECTION DEADLINE, AND SALE HEARING
              FOR CERTAIN OF THE DEBTORS’ LEASED PROPERTIES

PLEASE TAKE NOTICE OF THE FOLLOWING:

       On September 15, 2023, the Court entered that certain Order (I)(A) Approving Bidding
Procedures for the Sale or Sales of the Debtors’ Assets; (B) Scheduling Auctions and Approving
the Form and Manner of Notice Thereof; (C) Approving Assumption and Assignment Procedures
(D) Scheduling Sale Hearings and Approving the Form and Manner of Notice Thereof; (II)(A)
Approving the Sale of the Debtors’ Assets Free and Clear of Liens, Claims, Interests, and
Encumbrances and (B) Approving the Assumption and Assignment of Executory Contracts and
Unexpired Lease; and (III) Granting Related Relief [Docket No. 575] (the “Bidding Procedures
Order).2


1
    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
    place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
    Overland Park, Kansas 66211.
2
    Capitalized terms used in this notice but not defined herein shall have the meanings ascribed to them in the
    Bidding Procedures Order or the Notice of Winning Bidders (filed contemporaneously herewith), as applicable.



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        PLEASE TAKE FURTHER NOTICE that the Bidding Procedures Order, among other
things, (i) set a bid deadline of November 9, 2023 at 5:00 p.m. (E.T.) for the Debtors’ Real
Property Assets (including Owned Properties and Leased Properties), (ii) authorized the Debtors
to conduct the Auction for such Real Property Assets (the “Real Estate Auction”), which
commenced on November 28, 2023, at 9:00 a.m. (E.T.), and (iii) scheduled a Sale Hearing to
consider the approval of Winning Bid(s) (and Back-Up Bid(s), as applicable) for certain Real
Property Assets, which was held on December 12, 2023 at 10:00 a.m. (E.T.).

       PLEASE TAKE FURTHER NOTICE that, on December 6, 2023, the Debtors filed
that certain Notice of Adjournment of Real Estate Auction for Certain Remaining Leased
Properties to December 18, 2023 At 9:00 A.M. (E.T.) [Docket No. 1284] (i) adjourning the Real
Estate Auction for Remaining Leased Properties (as defined therein) to December 18, 2023 at
9:00 a.m. (E.T.) and (ii) rescheduling the Sale Objection Deadline, Adequate Assurance
Objection Deadline, and Sale Hearing for Remaining Leased Properties, in each case, to dates
and times to be determined.

        PLEASE TAKE FURTHER NOTICE that, contemporaneously herewith, the Debtors
filed that certain Notice of Winning Bidders with Respect to Certain of the Debtors’ Leased
Properties (the “Notice of Winning Bidders”) to announce that, following two days of
competitive bidding in the Real Estate Auction for certain Remaining Leased Properties on
December 18-19, 2023, twenty-three (23) Leased Properties were sold across six (6) Winning
Bidders for an aggregate purchase price of $82,892,697 (collectively, the “Lease Sales”).

       PLEASE TAKE FURTHER NOTICE that, as set forth in the Notice of Winning
Bidders, the Sale Hearing to consider approval of the Sale Order authorizing the Lease Sales and
the Debtors’ entry into their respective Asset Purchase Agreements is scheduled to take place
before the Court on January 12, 2024 at 2:00 p.m. (ET) and that the Debtors intend to file a
proposed form of Sale Order authorizing the Lease Sales on or around January 3, 2024.

         PLEASE TAKE FURTHER NOTICE that, with respect to the Sale Order and the
Lease Sales, each of the Sale Objection Deadline and the Adequate Assurance Objection
Deadline is hereby rescheduled to January 5, 2024 at 5:00 p.m. (ET), with any such objections
to be filed on the Court’s docket and served on applicable interested parties by such date.




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Dated: December 20, 2023
Wilmington, Delaware

/s/ Laura Davis Jones
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